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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                          Alexandria Division

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 UNITED STATES OF AMERICA

                  -v-
                                                                No. 1:19-CR-201-LMB
 GEORGE AREF NADER,

                  Defendant.

 -------------------------------------------------------x


          MEMORANDUM OF THE UNITED STATES IN OPPOSITION TO
           DEFENDANT’S MOTION TO REVOKE DETENTION ORDER


         Defendant George Aref Nader (“Nader” or “Defendant”) is a twice-convicted

 child sex offender1 with a more than thirty-year history of using his international

 influence and wealth to obtain minor boys for sex and an unrelenting interest in images of

 minor boys engaged in sexually explicit conduct. In the 1990s and 2000s, Nader traveled

 frequently to Europe, where he solicited numerous minor boys for sex through a pimp.2


 1
   Nader pleaded guilty in this District to the offense of transporting child pornography in
 1991 and pleaded guilty in 2003 in the Czech Republic to criminal offenses related to
 allegations that he had sex with two minors.
 2
  The Defendant was accused by Czech authorities of 10 instances of sexual conduct for
 money with five separate underage boys between 1999 and 2002. According to defense
 counsel, Nader was eventually convicted of “contributing to the moral corruption of
 society.” Detention Hr’g Tr. 30:15-17, dkt. 36. U.S. Magistrate Judge Ivan D. Davis
 persisted in asking what was the underlying conduct. Defense counsel replied: “the
 conduct for which he pled guilty was having a relationship with two young men who
 were two years under the age of consent in Czechoslovakia.” Id, at 30:25-31:2. Judge
 Davis clarified, and counsel admitted, that the “relationship” was “sexual conduct, with
 minors.” Id, at 31:3-6. The government’s understanding is that the age of consent in the
 Czech Republic is 15 years old, so defense counsel’s representation means the two boys
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 Nader arranged for at least one of those boys, who was just fourteen at the time, to travel

 from Europe to Nader’s home in Washington, D.C., where Nader had sex with him about

 every other day.3

        So widely-known was Nader’s prurient interest in minor boys that, during the past

 several years, a number of his friends and contacts (i.e., more than one) sent him child

 pornography via the WhatsApp mobile messaging application, knowing that the material

 would be well received. Indeed, Nader responded to many of these videos with

 approbation. For example, after receiving a video depicting a boy having sex with a goat,

 Nader replied approximately four minutes later with four emojis:4 one grinning face; a

 thumbs-up; a “smiling face crying tears of joy;” and another thumbs-up.5 Upon receiving



 with whom Nader admitted having sex with were 13 years old. This is supported by the
 sworn testimony in the United States from one of the other child prostitutes from the
 Czech Republic in 1999-2002.
 3
   Defendant’s claim that this criminal conduct is time-barred is meritless. Because the
 statute of limitations for the conduct had not yet lapsed when amendments extending the
 limitations period took effect, those new limitations periods replaced the original. See
 Stogner v. California, 539 U.S. 607, 617–19, 632 (2003) (no ex post facto violation
 where original limitations period had not yet expired).
 4
  Emojis are “small images, symbols, or icons used . . . to express the emotional
 attitude of the writer.” Emoji Definition, MERRIAM-WEBSTER, https://www.merriam-
 webster.com/dictionary/emoji (last visited July 21, 2019).
 5
   On July 10, 2019 and July 17, 2019, defense counsel and a defense expert visited the
 Federal Bureau of Investigation’s Washington Field Office to review forensic materials
 related to the Indictment, as well as the devices seized from Defendant at John F.
 Kennedy International Airport in June 2019. Each visit lasted approximately two hours.
 The government believes that the defense is, thus, aware that Defendant responded
 positively to messages containing alleged child pornography. Cf. Def.’s Mem. 2 (“the
 government has offered no evidence that Mr. Nader had actual knowledge that any of
 these files were located on [his] iPhone”). Their failure to acknowledge this to the Court
 would seem to go to their current representations about the strength of the government’s
 case.



                                              2
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 a message containing a video of a goat sucking on the genitals of a minor boy, Nader

 responded approximately three minutes later with five identical emojis depicting a

 “smiling face crying tears of joy.”

        With respect to Count 2 of the Indictment, Defendant received a WhatsApp

 message on December 2, 2016 at 1:39:48PM containing a video of young naked male

 being hung by his hands from the ceiling, after which his genitals were sprayed with a

 fluid and then lit on fire. This video was sent by unindicted person K.K. to Nader. The

 video is immediately preceded by a text in Arabic that can be translated as “the person

 who is bound molested a child, so the father burned his penis with fire.” Less than eight

 minutes later (at 1:48:26PM on December 2, 2016), Nader responded to K.K. with three

 emojis, including the “see-no-evil monkey” and two “flushed face.”

        These videos and other alleged child pornography and obscenity were not deleted

 from phones Nader transported into the United States on January 17, 2018. See

 Indictment (Counts One and Two), dkt. 49.

        The punishment Nader now faces in this District provides a powerful incentive for

 him to flee. Nader faces not only a fifteen-year mandatory minimum sentence for

 transporting child pornography, but also a ten-year mandatory minimum for the

 transportation of a minor into the United States for sex, and a five-year maximum

 sentence for the importation or transportation of obscene materials. See Indictment, dkt.

 49.

        Nader’s exposure is, however, much more serious than just the instant charges.

 As the defense had been previously informed, additional witnesses and alleged victims of

 the illicit conduct of Defendant and co-conspirators have been identified and are currently




                                             3
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 being further investigated by the Federal Bureau of Investigation. Some of these

 potential charges involve exploitation of other minor boys.

        Any claim that Defendant’s conduct is somehow far in his past is further belied by

 two factors. One is his persistent interest in seeking, grooming, and rewarding children

 for sexual conduct with adult men. The government has electronic communications

 between Defendant and co-conspirators about and with minor victims.

        In February 2009, for example, Nader and an unindicted co-conspirator shared

 pictures of an underage boy, whom the pair had been grooming since at least December

 21, 2006. Nader wrote to the co-conspirator on February 23, 2009: “I am willing to

 invest in him and I hope he understands how serious that is and he doesn’t disappoint

 himself and us.” The unindicted co-conspirator responded:

                I spoke to him yesterday , his dad was visiting with him at his moms
                house. … How do we explain this to his mom/dad. I, we, need to find a
                very tactful way to introduce you and your generous intentions.
                DEFINATELY don't want it seen in a ugly light. We will have to bounce
                it around and figure out a game plan. He will tell you that his tatoos are
                not just bad ones, but one is for his grandma and I think one for his step
                brother, but go ahead and tell him what I said, no more! I know he was
                going to call, but i told him to be very cautious with mom dad around. and
                he just got your number yesterday. he is in school today and has golf
                afterwards. You need to email him and let him know what hours he can
                call, with the time difference.”

 Nader replied on February 24, 2009:

                He didn't call nor did he send any email. I don't have a good feeling about
                it. I hope it isn't like son like father and now that he got what he wanted
                from me related to the [Golf] lessons [that they offered the minor], I am
                out of his mind.You need to have a real good talk with him before you
                preoceed with anything else.For example how is he going to handle it with
                family and other issues we discussed.I will call you in couple days but let
                me know for now what is happening.Like you don't have enough issues to
                worry about!!!Thanks anyway!




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          On March 22, 2009, the unindicted co-conspirator said, in an email discussion

 entitled “Understanding!”, that the minor boy called him and the co-conspirator warned

 Nader:

                 becareful calling yourself "dad" with him..its a very sensitive subject with
                 him.He said you called him Son . mabye hold off on that close of name
                 thing until later..I told him its a culture thing only and nothing more. that
                 arabic males even hold hands when they walk and its "normal" over there.
                 told him not to freak out and that George is not trying to be or take over
                 your real dad. Its just a term of endearment. .but incase the emails get
                 read, it could look "odd". best to call yourself Uncle or Friend.

          On March 23, 2009, the unindicted co-conspirator asked Nader:

                 but what do we want from [Minor Boy 2]? Emails, phone calls and a
                 genuine concern and appreciative attitude for the help? A willingness to
                 look forward? what do you epect in return for your generous help? let me
                 know your thoughts..so we can get him on schedule or drop it.

          Nader responded with caution:

                 I don't think you are reading my emails carefully.I don't want anything
                 from him, Period. If he feels like calling and send emails, that is fine.
                 Of course the courage and willingness to move forward. I am willing to
                 help him with a new private boarding school that would prepare him for a
                 decent college and provide him with a healthy climate and good
                 environment.I don't expect anything nor I need anything from him
                 except to hopefully explore his horizons, grow up in a better envirnment
                 and stay of course out of trouble. I will assist him and sponcer his
                 education, both at a private school next year and in a college his choice,
                 unconditionally with all its expenses.Don't push him with a yes or no
                 answer right away. He has got this long Spring break to think about it and
                 I can talk to him later, if he doesn't call now. I will either call him from
                 Iraq at a convenient time or when I come back home in about 3 weeks
                 time.

          On March 26, 2009 the unindicted co-conspirator said:

                 drove by and saw [Minor Boy 2] today. geez..what can i say about
                 him..ive never met such a nice kid. he asked about you and when you
                 would be available via phone again. he was home alone during teh day :(
                 i just watn to take him away!




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        An example makes clear that Nader was aware of the illicit nature of his

 activities. On March 27, 2009, Nader told the unindicted co-conspirator: “Please, please

 delete all correspondences after you read them including photos. DO NOT send photos I

 sent you to anybody else, please and delete them! Please confirm!TX” In response, the

 unindicted co-conspirator said, later that day, “its automatic these days..deleted, trashed,

 then wiped clean..all of my emails, stock transactions, everything!!! and in case of bad

 news..the computer is going with my mom.” Nader responded “Thanks but no reaction

 to the photos????did you like them???” The government has evidence that at least one of

 the two co-conspirators had sex with Minor Boy 2 and the matter remains under

 investigation.

        On September 18, 2012, Nader sent an email to the same unindicted co-

 conspirator saying:

                  A friend of mine from R[ussia] just got back [from Tunisia]. He stayed
                  there for a week. he said t [sic] was Heaven. Girls and girls all over eager
                  and anxious to come along. He described situation as similar to where we
                  met at old days. One street , long street, filled with girls, 23/246 and up
                  ready to be picked up. He said not only they were eager but also very very
                  reasonable. $5 to 10 and maximum when extremely spoiled and special
                  $20. I am going there next. The guy doesn't even speak a word of English
                  or Arabic and was able to pick so many a day. He said they were so"
                  natural, slim, eager and willing and do everything"! His friends stayed for
                  2 weeks . They were all 9 people. He can't wait to go back there. I got the
                  whole address and place and all! He rented an Apt. The guy is from
                  Moscow. He has seeing it all. And by his own standard, This is the best of
                  all the places he has been to. He likes our style and taste.




 6
  The government has evidence that Defendant regularly added 10 years to the ages of the
 persons being discussed with this co-conspirator and regularly referred to boys as “girls.”
 The government believes, therefore, he is talking about 13/14 year old boys, which is
 consistent with Defendant’s more than 30 year history.


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          The idea that this conduct and/or desire is somehow in Defendant’s past is belied

 by very recent searches on the Safari App that the 60-year old Defendant engaged in on

 the iPhone X seized last month at JFK. On October 3, 2018, Nader made the following

 searches7 on Safari between 9:13:57AM and 9:16:29AM:

                         sex with boys Russia

                         sex with boys Russia

                         sex with boys Russia

                         prostitution in Russia

                         boys ponography [sic] russia

 This is immediately after Nader accessed, again using Safari on his iPhone X, on October

 3, 2018 two items:

                         incredible movie of 17 year okd [sic] boy who became hustler and
                         porno star

                         movie of 17 year old porno star in Hollywood

 This evidence clearly indicates an ongoing danger to minor boys throughout the world

 from Defendant.

          Another factor the Court must consider is that Defendant continues to have long

 been interested in disturbing images, most of which involve young boys, that are

 allegedly obscene and/or child pornography. The January 2018 seizure of phones

 involving children was not an aberration as the previous convictions and investigations

 establish. The government has additional information about the interest in and

 consumption of child pornography by Defendant, beyond the instant charges. For




 7
     They were deleted on the iPhone X, but were recovered using standard forensic tools.


                                                  7
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 example, an unindicted co-conspirator on September 25, 2012 sent the Defendant a

 number of URLs, which were associated with titles are indicative of child pornography

 and appear to have been recommended in a chatroom, including:

                           Irland16.rar
                           NoCum16.rar
                           Highschool17.rar
                           SweetnessUKtaste.rar
                           17 nocum.rar
                           Henry2010 CloseUpBoyCum.rar
                           Boy4camxd NoFace Tyskland.rar
                           Hawt17NoCum.rar
                           Ger17.rar
                           Okej16 NoCum.rar
                           15 Raktpao American.rar
                           16 CutFlorida.rar
                           15 SpainTaste.rar
                           detroit16.rar
                           ukHairy15.rar

           Even more recently, when Nader arrived at John F. Kennedy International Airport

 (“JFK”) last month, he carried with him additional videos concealed within the

 WhatsApp application on his phones. Defendant had left Dubai, United Arab Emirates,

 where the government believes he had been living since an arrest warrant was issued for

 him on April 19, 2018,8 on a direct flight and landed at JFK, within the Eastern District of

 New York. In Nader’s possession at JFK were a set of phones (which were completely

 new from the set that were seized by the FBI pursuant to a warrant in January 2018).

           After the government obtained a warrant in this District to review the phones that

 were seized incident to Defendant’s arrest on June 3, 2019, the FBI reviewed the phones.

 Two videos of note were found by the forensic examination of the FBI to have be sent by

 Defendant. On July 12, 2018, Defendant sent a 1 minute 27 second allegedly obscene



 8
     See discussion of timing of initial charge, infra.


                                                 8
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 video of what appears to be an adult man having anal sex with a dog to an unindicted

 person A.O. This video appears to the FBI to meet the legal definition of obscenity.

        On September 26, 2018, Defendant sent a 1 minute 22 second video that contains

 ten vignettes each of a surprise sexual nature to unindicted person M.Z. Vignette #8 on

 that video appears to show the legs of a female in a short green dress. The hem of the

 dress is pulled up and the video shows a prepubescent male penis that had been

 concealed. Vignette #9 on that video appears to show the legs of a female in high heels

 and a flowered dress lying on a bed. As the camera moves closer a hand reaches into the

 frame, pulling up the hem of the dress to again reveal a prepubescent male penis. The

 video continues up the child’s torso to reveal his laughing face. This second video and

 the videos mentioned below appear to the FBI to meet the legal definition of child

 pornography.9

        Also on the phone seized at JFK on June 3, 2019 from Defendant Nader were

 alleged child pornography videos received since Nader was criminally charged by

 complaint in this District on April 19, 2018. For instance, there is a video that begins

 with an adult female speaking a language other than English. After ten seconds, the

 images switches to a close up of the genital region of a male child who appears twelve to

 twenty-four months old. As the child drinks from a bottle, he flicks and manipulates his

 penis. This video was received on Nader’s phone from unindicted person K.K. on June

 28, 2018, and marked as read.



 9
   As the Court is aware, “sexually explicit conduct” is defined under 18 USC 2256(2)(A)
 as: “means actual or simulated— (i) sexual intercourse, including genital-genital, oral-
 genital, anal-genital, or oral-anal, whether between persons of the same or opposite sex;
 (ii) bestiality; (iii) masturbation; (iv) sadistic or masochistic abuse; or (v) lascivious
 exhibition of the anus, genitals, or pubic area of any person.”


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           Another video on the phone seized begins with an eight to ten year old male child

  in shorts and a t-shirt holding a live chicken by the legs. The child looks at the camera

  before pulling down his shorts to reveal an erect penis. The male child then holds up the

  chicken and penetrates it with his penis. The child looks at the camera and laughs. The

  video is fourteen seconds in length. It was sent to Defendant by unindicted person Y.N.

  on November 9, 2018 and marked as read.

           A final video begins with an adult female sitting on a sofa with a five to six year-

  old male child and a two to three year-old male child. As the video progresses, the older

  of the two male children and the adult woman appear on a bed and later in various stages

  of undress. The adult woman performs fellatio on the five to six year-old male child and

  masturbates him. Later in the video the five to six year-old male child appears to have

  sexual intercourse with the adult female in multiple positions. The video ends with the

  five to six year-old child and the adult female naked in the shower. The adult female

  again performs fellatio on him. The video is one minute and seventeen seconds in length.

  It was sent to Defendant (and marked as read) on January 31, 2019 by unindicted person

  E.H.M.

           The government is aware, and defense counsel has been informed, that the U.S.

  Attorney’s Office in the Eastern District of New York is considering bringing its own

  charges based on materials found on the phone seized at JFK Airport on June 3, 2019.

  These charges would likely expose Defendant to yet another fifteen-year (potentially

  consecutive) mandatory minimum prison sentence for a subsequent conviction growing

  out of new conduct.




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         Beyond the further danger to the community that this continued interest in videos

  of minor boys and the even further increased danger of flight, there are two additional

  obvious consequences of this new evidence: first, it provides even greater support to the

  government’s allegations about Defendant’s interest in and knowledge of the illicit

  materials at issue in the instant Indictment, and, second, it shows continued interactions

  by Defendant with many of the same people who sent or received illicit videos.

         Defendant misleadingly asserts that he was free to travel to and from the United

  States on several occasions, omitting the fact that he never freely traveled to and from the

  United States while criminal charges against him were pending. Cf. Def.’s Mem. 3, 10.

  Nader had already left the country in March 2018, several weeks before criminal charges

  were filed against him in April 2018, and he did not return to the United States until June

  3, 2019. Upon landing at JFK Airport on June 3, 2019, he was promptly arrested. That

  Defendant was free to come and go prior to the filing of criminal charges against him is

  of no moment; it is unclear under what legal basis the government could have restricted

  his movements absent the arrest warrant that was issued in connection with the April

  2018 complaint.

         Defendant’s final assertion – that he should be released due to some alleged

  health concerns – should similarly be rejected. Putting aside that there is no health

  exemption within the bail statute warranting the release of an extremely dangerous

  defendant who poses a massive flight risk and has apparently unlimited resources, it is

  unclear whether Defendant has actually been denied the medical treatment he seeks.

  There is simply no evidence in the record that he has, and, given the nature and tone of

  Defendant’s filing, a failure to include any such evidence strongly suggests that there is




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  none. Further, addressing his medical needs would not require his release, since the jail

  is equipped to transport him to off-site medical appointments or to transfer him to the

  custody of the Bureau of Prisons for more specialized care if necessary.

          Because the violent crimes against children for which Nader has been charged

  carry a statutory presumption against release, 18 U.S.C. § 3142(e)(3)(E), and he cannot

  rebut the presumption, his motion should be denied, and he should remain detained.

                                  THE INSTANT INDICTMENT
          Defendant, a citizen of Lebanon and the United States who has primarily resided

  overseas during the past decade, is charged in the Indictment with one count of

  transporting child pornography; one count of transporting obscenity; and one count of

  transporting a minor into the United States for sex. See Indictment, dkt. 49. Underlying

  these three charges is a sordid thirty-to-forty-year period during which Defendant abused

  his power and wealth to obtain boys for sex and had repeated run-ins with the law both

  within and outside the United States in connection with his sexual interest in children.

  See generally Detention Hr’g Tr. 5:24–11:9, dkt. 36 (government’s factual proffer

  regarding Defendant’s long history of child sexual abuse, extensive ties to foreign

  countries, and financial assets).

     I.      Defendant’s Sexual Abuse of Minors

          In the 1990s and 2000s, Defendant traveled frequently to Europe, where he

  engaged the services of a pimp who introduced him to numerous vulnerable minor boys

  whom Defendant paid for sex. One of these boys was a minor referenced in Count Three

  of the Indictment as Minor Boy 1. Defendant routinely had sex with minors, paying the

  minors with cash or gifts of clothing, mobile phones, or other items that the children




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  would have otherwise been unable to afford. Some of Defendant’s sexual contact with

  minors eventually led to Defendant’s conviction in Prague in 2003, as described above.

           But beyond the allegations in the Czech courts, Defendant arranged for Minor

  Boy 1 to obtain a visa to travel to the United States and Nader also paid for Minor Boy

  1’s travel to the United States. Upon Minor Boy 1’s arrival at Washington-Dulles

  International Airport, Nader drove Minor Boy 1 to his home in Washington, D.C., where

  Nader sexually exploited him night after night.

           Nader took advantage of the power imbalance. After Minor Boy 1’s arrival in the

  United States, Nader took control of Minor Boy 1’s passport. When Minor Boy 1

  complained that he wanted to leave, Nader did not let him. When Minor Boy 1 asked to

  call his mother, Nader did not let him. Without his passport or the money to pay for

  international travel back to his home country, Minor Boy 1 was at Nader’s mercy. Later,

  Nader instructed Minor Boy 1 not to tell anyone what had happened, and Nader

  threatened that he could have Minor Boy 1’s mother put in jail. Tragically, the story of

  Minor Boy 1 is consistent with the accounts of other minor boys of which the

  government is aware Defendant and/or unindicted co-conspirators sexually exploited or

  attempted to groom (or help groom).

     II.      Defendant’s Consumption of Child Pornography and Obscene Materials

           Defendant whetted his sexual appetite for children not only through hands-on

  conduct, but also through the consumption of child pornography and obscene materials.

  In 1990, Defendant arrived in this District carrying candy tins containing two reels of

  film containing child pornography. He was subsequently indicted and later pleaded

  guilty in 1991 to the transportation of child pornography.




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         Twenty years later, Defendant has engaged in similar conduct – only this time, he

  concealed the contraband within his cell phones, not candy tins.10 The timeline of events

  related to Counts One and Two of the Indictment is as follows: When Defendant traveled

  to the United States on January 17, 2018 in connection with an unrelated investigation,

  devices in his possession were seized and forensically analyzed by those investigators. In

  February 2018, while those investigators searched for material relevant to their case, they

  discovered content they suspected was related to the exploitation of children. Those

  investigators made a case referral to the FBI’s child exploitation squad within the

  Washington Field Office. In March 16, 2018, investigators within the child exploitation

  squad obtained a search warrant to search one of the devices seized in January 2018 for

  evidence related to child exploitation. Travel records show that, on March 22, 2018,

  Nader traveled to the United States and left the country only two days later, on March 24,

  2018. On April 19, 2018, the government filed its criminal complaint in the instant case,

  charging Nader with the transportation of child pornography and obtained a warrant for

  Nader’s arrest in the process. See dkt. 1–2, 7.

         Travel records indicate that after Defendant left the country on March 24, 2018,

  he did not travel into the United States again until June 3, 2019, the date he was arrested

  pursuant to the arrest warrant issued in connection with the April 2018 criminal

  complaint.




  10
    This is in addition to the two incidents in the District of Columbia where the child
  pornography charges against the Defendant were dismissed or not brought despite
  investigations that led directly to Defendant Nader. See Detention Hr’g Tr. 5:24–11:9,
  dkt. 36.


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         The child pornography and obscenity videos supporting Counts One and Two of

  the Indictment were found within the WhatsApp messaging application on Defendant’s

  phone. As discussed during the preliminary hearing held before Magistrate Judge

  Theresa C. Buchanan on June 10, 2019, Nader not only received alleged child

  pornography videos, but also sent alleged child pornography videos to others.

  Preliminary Hr’g Tr. 8:22–9:3, dkt. 39 (“Q: Are you aware of whether forensics retrieved

  any information indicating whether the videos described in the complaint affidavit were

  sent or received? A: Yes. Q: And what was that information? A: Two of the videos

  were sent and ten were received.”). Moreover, while the agent who testified at the

  preliminary hearing was unable to provide the full context surrounding Defendant’s

  reaction to those videos (much of this information was outside the scope of the agent’s

  knowledge, since the testifying agent was filling in for the case agent, who was

  unavailable), the government subsequently provided the defense opportunities to review

  the forensic materials, which showed that Defendant had accessed alleged contraband,

  acknowledged it to varying degrees, and had not deleted it prior to transporting the

  iPhone containing that content to the United States in January 2018. See supra 2, 2 n.5

  (discussing Defendant’s responses to videos containing child pornography and obscenity

  and defense team’s review of the forensic materials on two occasions).

         On June 3, 2019, different devices within Nader’s possession were seized from

  Nader upon his most recent entry into the United States at JFK Airport and subsequently

  forensically examined pursuant to a search warrant. Within two new iPhones were

  videos depicting the illicit sexual conduct of minors, including a video showing a minor

  boy having sex with an adult woman and a video showing a child having sex with a




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  chicken. Again, the government’s understanding is that the U.S. Attorney’s Office for

  the Eastern District of New York is contemplating charges related to these materials.

         Defendant’s wealth, extensive connections to foreign governments, and his

  history of residing overseas have been largely uncontested in the previous hearings before

  the magistrate judges in this case. See Detention Hr’g Tr. 10:5–11:4. Defendant has

  been issued travel and identity documents by foreign countries; has a villa in the United

  Arab Emirates and a chalet in Lebanon; and is active in the purchase and trade of

  cryptocurrency. Id. In a previous hearing, the defense conceded that Defendant has a net

  worth of at least $3 million. Id. In addition, Defendant has extensive contacts with high-

  ranking members of foreign governments. Id.

         His risk of flight and danger to society have led two judges to order him detained

  in prior hearings. See 1:19-mj-513-CLP (E.D.N.Y.), dkt. 2 (magistrate judge, in ordering

  temporary detention, commented that Nader “has every incentive in the world to flee”);

  Detention Hr’g Tr. 42:1–3, 42:11–43:3, 1:19-CR-201 (E.D. Va.), dkt. 36 (finding

  Defendant unable to rebut presumption against release due to Defendant’s long history of

  sexual crimes against children, including hands-on offenses).

                                         ARGUMENT
         Under 18 U.S.C. § 3145(b), a court with “original jurisdiction over the offense”

  may review a defendant’s motion for revocation of a magistrate judge’s detention

  order. This review is conducted de novo. United States v. Clark, 865 F.2d 1433, 1436

  (4th Cir. 1989).

         As the government previously argued before Magistrate Judge Davis on June 10,

  2019, Defendant should be detained because there are no conditions or combination of

  conditions that will reasonably assure his appearance and the safety of any other person


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  and the community. This is especially true in this case, where there is a statutory

  presumption that Defendant poses both a risk of flight and a danger to the community;

  the weight of the evidence is overwhelming; and the charges in the Indictment carry a

  fifteen-year mandatory minimum term of imprisonment. The government need only

  prove flight risk by a preponderance of the evidence. United States v. Gebro, 948 F.2d

  1118, 1121 (9th Cir. 1991); United States v. Medina, 775 F.2d 1398, 1402 (11th Cir.

  1985). With respect to the risk of danger to the community, the burden of proof is clear

  and convincing evidence. See 18 U.S.C. § 3142(f)(2)(B).

     I.      Defendant Cannot Rebut Presumption That He Poses A Danger to the
             Community
          Defendant’s repeated sexual abuse of minors supports a finding that he poses a

  danger to the community. While Defendant appears to claim that his advanced age and

  health condition render him harmless, he did not rely on physical force to exploit children

  in the past. Instead, he used his influence and wealth to purchase introductions to

  vulnerable boys through intermediaries. Then, over time, he groomed and paid these

  boys for sex, transporting at least one minor to the United States for sex. If Defendant

  were released, he could very well procure children to exploit in the same way.

          Moreover, Defendant’s prurient interest in children is underscored by his

  recurring consumption of child pornography. In this case, Defendant both sent and

  received child pornography via the WhatsApp messaging application on his phone and,

  as previously discussed, responded favorably to a number of his friends’ transmission of

  videos containing alleged child pornography. That Defendant would express approval of

  a video depicting a child having sex with a goat, or find humorous the depiction of a goat




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  sucking on a child’s genitals, underscores the fact that his prurient and sexual interest in

  children has not abated.

           The selection of child pornography found on the phone taken from Nader’s

  possession in January 2018 is part of a larger pattern of collecting such content. After

  Defendant departed the United States in March 2018, he continued to acquire child

  pornography on new devices. Indeed, two phones seized from his possession at JFK

  Airport contained child pornography videos that had been sent to him after he had left the

  United States. For example, the video depicting a minor boy having sex with an adult

  woman was date-stamped January 31, 2019. Under these circumstances, the Court

  should find that Defendant has not rebutted the presumption against release based on the

  danger he poses to the community.

     II.      Defendant Has Not Rebutted Presumption That He Poses Risk of Flight
           Defendant’s international network of high-ranking foreign officials, his wealth,

  and the lengthy prison sentences he faces here and in other jurisdictions support a finding

  that he poses a serious risk of flight. Courts have found flight risk an adequate basis for

  detention under similar circumstances even where defendants did not face a statutory

  presumption against release. See United States v. Stanford, 394 F. App’x 72, 75 (5th Cir.

  2010) (holding that the factors “compellingly call for . . . pretrial detention,” where

  defendant had “the means, the motive, and the money to flee,” including “an international

  network of contacts,” a “primary residence in Antigua and Barbuda for the past fifteen

  years, and . . . little family ties in Houston”); United States v. Mehmood, 358 Fed. App’x.

  767 (8th Cir. 2010) (pretrial detention appropriate due to flight risk in visa fraud case

  where, among other things, defendant had property and financial interests in Canada).




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            Nor should the Court be persuaded by any of the proposed bail conditions

  previously rejected by the Magistrate Judge. See Detention Hr’g Tr. 27–28 (discussing

  Defendant’s proposal to post $1 million bond and hire private security firm to guard

  him). As the Magistrate Judge correctly noted, such a security firm would ultimately be

  hired and paid by Defendant. Id. at Tr. 27:15–24. Unlike an entity like the jail or the

  U.S. Marshals, who operate outside the influence of a paycheck from either party in a

  criminal matter, the firm’s loyalties would necessarily be compromised. Further,

  Defendant’s wealth and resources should not buy him different treatment than other

  defendants answering to similar charges. See Tr. 41:1–6 (magistrate judge’s agreement

  with government that Defendant’s access to massive resources should not grant him

  special treatment under the law). Under the facts proffered by the government and

  uncontested by Defendant, the Court should find that Defendant cannot rebut the

  presumption against release based on his flight risk.

     III.      Assertions of Health Concerns are Insufficient to Overcome Presumption
               Against Defendant’s Release
            Defendant’s health concerns are insufficient to overcome the presumption against

  release. While he asserts that he is not receiving the ideal care that his vast wealth and

  connections can provide, Nader has made no allegation that he requested and was

  subsequently denied access to the medical care he describes. The crux of Defendant’s

  claim is that he requires “further evaluation to determine an appropriate course of

  physical therapy, and then needs to be able to receive that physical therapy promptly and

  consistently.” Def.’s Mem. 12. Defendant has, however, made no showing that he has

  requested that the Alexandria Detention Center (“ADC”) provide follow-up evaluations




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  for physical therapy, or that ADC is unwilling or unable to facilitate such an evaluation,

  or implement an appropriate physical therapy plan.

         Defendant’s argument should be rejected because ADC staff and health

  professionals within the Bureau of Prisons are available to accommodate Defendant’s

  medical needs. Based on the government’s inquiries of the U.S. Marshals and ADC

  officials, the government is aware that ADC medical staff are available at the jail twenty-

  four hours a day, seven days a week, and that ADC employs medical professionals

  capable of treating a wide range of medical needs. Further, the government has received

  assurances from the U.S. Marshals and ADC medical staff that they are sensitive to

  Defendant’s health concerns and have, accordingly, made efforts to accommodate the

  visits of Nader’s privately hired physicians. In addition, it is the government’s

  understanding that ADC is willing and able to securely transport Nader to outside

  medical facilities for continued evaluation or treatment, or should the need arise, transfer

  Defendant to the custody of the Bureau of Prisons for specialized treatment.

         While Defendant describes the information regarding his medical treatment as a

  new development warranting reconsideration of the magistrate judge’s previous detention

  order, little has changed. During the original detention hearing, the judge commented

  that the defense had failed to provide an adequate showing that it had attempted to, and

  had been denied, appropriate medical care:

         THE COURT: And you haven’t given me any real explanation on what steps
         were taken to acquire [a medical appointment with a doctor of Defendant’s
         choice]. . . . I didn’t receive a motion for your client to be transported to a hospital
         or to be transported to some other cardio facility that could evaluate him, which
         would then give the government an opportunity to provide its response to said
         motion.




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  Detention Hr’g Tr. 24:17–25. There, the judge agreed with the government that, upon a

  proper showing, the appropriate relief would have been Defendant’s transportation to a

  medical facility for an appointment – not release. Id. Tr. 25:17–20 (“THE COURT:

  Maybe you should have worded [the emergency motion for conditional release] ‘an

  emergency motion to transport him.’ Because when you use the word ‘release’ . . . when

  we’re going to be discussing detention, it suggest[s] something.”)

                                        CONCLUSION
         For the foregoing reasons, the government respectfully requests that the Court

  deny Defendant’s motion and order that Defendant remain detained pending trial.




                                                      Respectfully submitted,

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                                                      UNITED STATES ATTORNEY

                                                      ___/s_________________
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                                                      Eastern District of Virginia

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                                    Certificate of Service

         I hereby certify that on July 22, 2019, I electronically filed the foregoing with the

  Clerk of Court using the CM/ECF system, which will send a notification of filing (NEF)

  to counsel of record for the defense.



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